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                                  3                                     UNITED STATES DISTRICT COURT
                                  4                                   NORTHERN DISTRICT OF CALIFORNIA
                                  5
                                       PRIME HEALTHCARE SERVICES, INC.,                    Case No.: 14-CV-3831 YGR
                                  6
                                                     Plaintiff,
                                  7                                                        ORDER GRANTING DEFENDANTS’ MOTION TO
                                               v.                                          TRANSFER CASE PURSUANT TO 28 U.S.C. §
                                  8                                                        1404(A)
                                       SERVICE EMPLOYEES INTERNATIONAL
                                  9    UNION, ET AL.,
                                  10                 Defendants.
                                  11
                                               Defendants Service Employees International Union (“SEIU”), Service Employees
Northern District of California




                                  12
 United States District Court




                                       International Union-United Healthcare Workers West (“UHW”), Mary Kay Henry, and Dave
                                  13
                                       Regan have filed a Motion to Transfer the instant action. (Dkt. No. 17.) In it they claim that a
                                  14
                                       substantially similar action alleging antitrust violations has previously been filed in the United
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                                       States District Court for the Southern District of California, and that the factors governing transfer
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                                       under 28 U.S.C. § 1404(a) favor transfer to that district. Plaintiff Prime Healthcare Services, Inc.,
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                                       (“Prime”) filed its Opposition to the motion on October 6, 2014. (Dkt. No. 25.) Defendants filed
                                  18
                                       their Reply on October 14, 2014. (Dkt. No. 34.)
                                  19
                                               Having carefully considered the papers submitted and the pleadings in this action, and for
                                  20
                                       the reasons set forth below, the Court hereby GRANTS the Motion to Transfer based on the first-to-
                                  21
                                       file rule.1
                                  22
                                       I.      BACKGROUND
                                  23
                                               A.        The Parties and Dispute
                                  24
                                               Prime is a hospital management corporation which, along with an affiliated foundation,
                                  25
                                       operates 28 acute care hospitals in eight states, including 15 hospitals in California. (Complaint,
                                  26
                                               1
                                  27             Pursuant to Federal Rule of Civil Procedure 78(b) and Civil Local Rule 7-1(b), the Court
                                       finds this motion appropriate for decision without oral argument. Accordingly, the Court VACATES
                                  28   the hearing set for October 28, 2014.
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                                  1    Complaint, ¶¶ 15-16.) Prime describes itself as largely non-union, and at least some of the
                                  2    healthcare workers at its hospitals are not unionized. (Complaint ¶ 3.) Defendants are a group of
                                  3    labor unions, union-related entities, and their executives. (Complaint ¶¶ 17-30.) The Defendant
                                  4    labor unions represent employees of California’s hospitals and clinics, including nurses, aides,
                                  5    assistants, housekeeping staff, and maintenance workers. (Complaint ¶ 18.) According to the
                                  6    Complaint, Defendant Change to Win is a union federation made up of three member unions:
                                  7    Defendant SEIU, the International Brotherhood of Teamsters, and the United Food and
                                  8    Commercial Workers Union. (Complaint ¶ 23.) The Complaint alleges that Change to Win
                                  9    approves SEIU’s conspiratorial tactics and supports them through Defendant CTW Investment
                                  10   Group, the investment arm of Change to Win. (Complaint ¶¶ 24-28.)
                                  11          The heart of the dispute herein concerns the defendants’ efforts to unionize hospitals owned
                                  12   by Prime. Prime argues that the defendants have engaged in a conspiracy geared toward either
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                                  13   unionizing Prime-owned hospitals or forcing Prime out of the healthcare market. (Complaint ¶ 4.)
                                  14   Prime further alleges that to do so the defendants have engaged in a “corporate campaign” that
                                  15   employs extortion and public attacks to embarrass Prime and disrupt Prime’s relationship with its
                                  16   customers. (Complaint ¶ 7.) Prime’s Complaint asserts that the defendants’ actions constitute a
                                  17   conspiracy in violation of the Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C. §
                                  18   1962 (“RICO”), and seeks treble damages and attorneys’ fees. (Complaint ¶ 14.)
                                  19          B.      Chronology of the Litigation
                                  20          On November 15, 2011, Prime filed suit (“Prime I”) in the Southern District of California
                                  21   alleging that SEIU, UHW, Kaiser Permanente, and a group of Kaiser-related entities had engaged
                                  22   in an antitrust conspiracy aimed at fixing wages for healthcare workers at higher rates and
                                  23   ultimately eliminating Prime from the healthcare market. The original complaint was dismissed
                                  24   with leave to amend. See No. 11-cv-02652 JLS (RBB) 2012 WL 3773848 (S.D. Cal. Aug. 30,
                                  25   2012). After the case was transferred to another judge in the Southern District, Prime filed a first
                                  26   amended complaint. On October 26, 2012, the defendants moved to dismiss the first amended
                                  27   complaint. By order dated July 25, 2013, the court dismissed the first amended complaint without
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                                  1    prejudice. See No. 11-cv-02652 JLS (RBB) 2013 WL 3873074 (S.D. Cal. July 25, 2013). Prime
                                  2    has appealed that dismissal, and the appeal is currently pending.
                                  3            Prime filed the instant suit (“Prime II”) in this Court on August 25, 2014. In it Prime again
                                  4    names SEIU and UHW as defendants, along with new defendants Change to Win, CTW Investment
                                  5    Group, and three individuals. The Kaiser entities sued in the Southern District are not defendants
                                  6    here.
                                  7    II.     DISCUSSION
                                  8            A.      First-to-File Rule
                                  9            A federal district court has discretion to dismiss, stay, or transfer a case to another district
                                  10   court under the first-to-file rule. Pacesetter Sys., Inc. v. Medtronic, Inc., 678 F.2d 93, 94–95 (9th
                                  11   Cir. 1982); Alltrade, Inc. v. Uniweld Prods. Inc., 946 F.2d 622, 628 (9th Cir. 1991) (“The most
                                  12   basic aspect of the first-to-file rule is that it is discretionary.”). The first-to-file rule is “a generally
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                                  13   recognized doctrine of federal comity” permitting a district court to decline jurisdiction over an
                                  14   action. Inherent.com v. Martindale–Hubbell, 420 F. Supp. 2d 1093, 1097 (N.D. Cal. 2006) (citing
                                  15   Pacesetter, 678 F.2d at 94-95). The rule is meant primarily to alleviate the burden placed on the
                                  16   federal judiciary by duplicative litigation and to prevent the possibility of conflicting judgments.
                                  17   Church of Scientology of Cal. v. U.S. Dep’t of Army, 611 F.2d 738, 750 (9th Cir. 1979) (citations
                                  18   omitted). As such, the rule should not be disregarded lightly. See Microchip Tech., Inc. v. United
                                  19   Module Corp., No. CV-10-04241-LHK, 2011 WL 2669627, at *3 (N.D. Cal. July 7, 2011). Courts
                                  20   analyze three factors in determining whether to apply the first-to-file rule: (1) chronology of the
                                  21   actions; (2) similarity of the parties; and (3) similarity of the issues. Schwartz v. Frito-Lay N. Am.,
                                  22   No. C-12-02740 EDL, 2012 WL 8147135, at *2 (N.D. Cal. Sept. 12, 2012) (citing Alltrade, 946
                                  23   F.2d at 625).
                                  24           B.      Analysis
                                  25           Based on the relevant factors, the Court finds that the first-to-file rule applies here. The
                                  26   Court considers each factor in turn.
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                                  1                    1. Chronology of Actions
                                  2            The first factor looks to the chronology of the two cases. If the action in the transferee court
                                  3    was filed prior to the action pending before the transferor court, then this factor supports transfer.
                                  4    Prime filed the first action in the Southern District in 2011. Thereafter, Prime filed the instant
                                  5    action in 2014. Without question, the first factor is satisfied.
                                  6                    2. Similarity of the Parties
                                  7            The Court next considers whether the parties in the two cases are similar. Courts have held
                                  8    that “the first-to-file rule does not require strict identity of the parties, but rather substantial
                                  9    similarity.” Adoma v. Univ. of Phoenix, 711 F. Supp. 2d 1142, 1147 (E.D. Cal. 2010) (citing
                                  10   Inherent.com, 420 F. Supp. 2d at 1097). Said differently, “[e]xact identity is not required to satisfy
                                  11   the first-to-file rule.” Pac. Coast Breaker, Inc. v. Connecticut Elec., Inc., No. CIV 10–3134 KJM
                                  12   EFB, 2011 WL 2073796, at *3 (E.D. Cal. May 24, 2011) (“The rule is satisfied if some [of] the
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                                  13   parties in one matter are also in the other matter, regardless of whether there are additional,
                                  14   unmatched parties in one or both matters.”) (internal citation omitted).
                                  15           Prime argues that a comparison of the parties in the two actions does not fulfill this factor .
                                  16   (Dkt. No. 25 at 14.) The Court disagrees. While the parties in the two actions are not identical, the
                                  17   core nucleus of the parties is not only the same, but the additional defendants are substantially tied
                                  18   thereto. Thus it is not dispositive that the Kaiser entities sued in Prime I are not defendants here or
                                  19   that Prime has named five defendants that were not parties to Prime I. The Court takes a more
                                  20   comprehensive review. First, Prime, SEIU, and UHW are all parties to both suits. Second, all of
                                  21   the five newly-named defendants in Prime II are closely related to SEIU and UHW. SEIU is a
                                  22   member of Change to Win, and is closely related to CTW Investment Group through its affiliation
                                  23   with Change to Win. Defendant Mary Kay Henry is President of SEIU and Secretary-Treasurer of
                                  24   Change to Win. Defendant Dave Regan is President of UHW and Vice President of SEIU. Finally,
                                  25   Defendant Tom Woodruff is an executive within Change to Win, and has previously held executive
                                  26   positions within SEIU.
                                  27           Given the close relationship among all of the defendants in the instant case, the greatest
                                  28   distinction between this suit and Prime I is that the Kaiser defendants sued in the Southern District


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                                  1    are not named as defendants here. This does not render the parties so dissimilar as to preclude
                                  2    application of the first-to-file rule. See Juniper Networks, Inc. v. Mosaid Techs., Inc., No. C 11–
                                  3    6264 PJH, 2012 WL 1029572, at *2 (N.D. Cal. March 26, 2012) (sufficient similarity where five
                                  4    defendants sued in first action were not named as defendants in the second action). Furthermore,
                                  5    the instant Complaint alleges that Kaiser Permanente was complicit in the alleged conspiracy that
                                  6    serves as the basis for the RICO claims. (Complaint at ¶¶ 103-07.) Thus, while Kaiser Permanente
                                  7    is not named as a defendant in Prime II, the Court properly considers these allegations in the first-
                                  8    to-file analysis.
                                  9                    3. Similarity of the Issues
                                  10           The third factor in the first-to-file analysis centers on the similarity of the issues between the
                                  11   two cases. As with the similarity of the parties, courts have held that the issues in the two actions
                                  12   must be substantially similar but need not be identical. Adoma, 711 F. Supp. 2d at 1148 (citing
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                                  13   Inherent.com, 420 F. Supp. 2d at 1097); Intersearch Worldwide, Ltd. v. Intersearch Grp., Inc., 544
                                  14   F. Supp. 2d 949, 959 (N.D. Cal. 2008) (“[A]s defendant correctly notes, the ‘first-to-file’ rule is
                                  15   satisfied by a sufficient similarity of issues.”).
                                  16           The Court begins with the similarities. Here, the two suits arise out of many of the same
                                  17   operative facts. While many of the allegations are strikingly similar, a couple of examples suffice
                                  18   for the purposes of this analysis. The Prime I first amendment complaint alleges that the Kaiser
                                  19   entities and the members of SEIU and UHW engaged in anticompetitive conspiracy to raise
                                  20   Prime’s labor costs and thereby drive it out of the market. (Prime I Dkt. No. 46 ¶ 9.) In Prime II,
                                  21   Prime contends that the labor unions and their executives engaged in a RICO conspiracy to either
                                  22   unionize Prime’s hospitals, and thereby raise its costs, or drive Prime out of the market.
                                  23   (Complaint ¶ 4.) The two complaints allege largely identical conspiracies. Next, both operative
                                  24   complaints allege that Kaiser Permanente and the defendants in the instant case used a partnership
                                  25   between Kaiser and the unions to funnel money from Kaiser to an SEIU-controlled coalition of
                                  26   unions that the coalition in turn paid directly to SEIU and UHW or used to campaign against Prime.
                                  27   (Complaint ¶¶ 103-107; Prime I Dkt. No. 46 ¶¶ 175-183.) Both complaints also allege that the
                                  28   defendants campaigned to prevent Prime from acquiring new hospital licenses, and some of the


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                                  1    language in the instant Complaint detailing this allegation is taken verbatim from the first
                                  2    complaint. (Complaint ¶ 152; Prime I Dkt. No. 46 ¶ 276.)
                                  3           Not only do the two suits arise out of many of the same operative facts, but they share
                                  4    common legal issues. In Prime I the defendants argued that much of their activity was protected by
                                  5    the Noerr-Pennington doctrine, which originally exempted concerted efforts to lobby the
                                  6    government from antitrust liability. See Prime I, 2012 WL 3778348, at *8 (order dismissing
                                  7    original complaint). In their Motion to Transfer, the defendants assert that immunity under Noerr-
                                  8    Pennington would be an issue in the instant case. (Dkt. No. 17 at 9.) The Ninth Circuit has held
                                  9    that Noerr-Pennington immunity can extend to RICO claims. See Sosa v. DIRECTV, Inc., 437 F.3d
                                  10   923, 931-32 (9th Cir. 2006); Kearney v. Foley & Lardner, 590 F.3d 638, 645 (9th Cir. 2009).
                                  11   Therefore the contours of the Noerr-Pennington doctrine and its applicability to these facts would
                                  12   be issues in Prime II just as they were issues in Prime I. Likewise, whether the Labor-Management
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                                  13   Cooperation Act of 1978, 29 U.S.C. § 186(c)(9), confers immunity for some of the challenged acts
                                  14   was an issue in Prime I and could be an issue in Prime II. See Prime I, 2013 WL 3873074, at *8
                                  15   (order dismissing first amended complaint).
                                  16          The Court understands that Prime I alleges violations of federal antitrust laws while Prime
                                  17   II alleges violations of the federal civil RICO statute. However, the legal issues are substantially
                                  18   similar for transfer to the Southern District to promote judicial economy.
                                  19          C. Other Considerations
                                  20          Having concluded that each of the factors in the first-to-file analysis weigh in favor of
                                  21   transfer, the Court need not reach the other considerations raised. Nevertheless, the Court
                                  22   addresses Prime’s Opposition, based on convenience factors, briefly.
                                  23                  1. Interests of Justice
                                  24          Prime argues that transfer would not further the interests of justice because: (1) there is no
                                  25   pending case in the Southern District of California to which Prime II could be related, and there is
                                  26   no guarantee the same judge could preside over both cases; and (2) there is no risk of duplication of
                                  27   effort or inconsistent rulings, since Prime I was dismissed. (Dkt. No. 25 at 12-13, 17-19.) The
                                  28   Court considers each argument in turn.


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                                  1                              a. Pendency of Prime I
                                  2           Prime’s first argument is unavailing. The Court acknowledges that Prime I has been
                                  3    dismissed and is pending appeal. However, the Southern District’s local rules provide a
                                  4    mechanism by which the same judge who presided over Prime I could preside over Prime II. The
                                  5    rules state that counsel must file a notice of related case whenever counsel becomes aware of a
                                  6    pending case or a case that is soon to be filed that is related to another proceeding already on file.
                                  7    S.D. Cal. Civ. R. 40.1(f) (emphasis added). That requirement holds regardless of whether the first
                                  8    case is pending, has been dismissed, or has otherwise been terminated. Id. Pursuant to this rule,
                                  9    upon transfer of Prime II to the Southern District, counsel for both parties would be required to
                                  10   notify the court of its relatedness to Prime I, allowing the judge who presided over the first case to
                                  11   have Prime II reassigned. S.D. Cal. Civ. R. 40.1(h). Thus, the Southern District’s local rules make
                                  12   it likely that the same judge would preside over the two cases, and that judicial economy would
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                                  13   thereby be promoted. Further, if Prime is successful in its appeal then Prime I would be remanded
                                  14   to the same judge to whom the transfer of Prime II is most likely to be assigned. This supports
                                  15   transfer of the instant case. See Univ. of Pittsburgh v. Varian Med. Sys., No. C-08-2973, 2008 WL
                                  16   4279704, at *3 (N.D. Cal. Sept. 16, 2008) (possibility that plaintiff would successfully appeal
                                  17   dismissal of similar first-filed claim supports transfer to avoid “duplicative proceedings and
                                  18   conflicting rulings.”).    Either way, the section 1404(a) analysis remains the same, since the
                                  19   ultimate aim of section 1404(a) is the prevention of the duplication of effort and the waste of
                                  20   judicial resources. See Univ. of Pittsburgh, 2008 WL 4279704 at *3 (transfer to court where
                                  21   earlier-file case was dismissed serves goals of section 1404(a) regardless of outcome of appeal of
                                  22   that dismissal); see also Wireless Consumers Alliance, Inc. v. T-Mobile USA, Inc., No. C 03-3711
                                  23   MHP, 2003 WL 22387598, at *4 (N.D. Cal. Oct. 14, 2003) (avoidance of multiple litigations based
                                  24   on single transaction is an important element of section 1404(a) analysis).
                                  25                             b. Duplication of Effort and Inconsistent Rulings
                                  26          Prime argues that there would be no duplication of effort or inconsistent rulings because the
                                  27   two cases are substantially different and because that were no rulings made in Prime I that would
                                  28   have preclusive effect on Prime II. (Dkt. No. 25 at 17-19.) Again, the Court disagrees. The Court


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                                  1    has already found that there is substantial overlap of parties and issues between the two cases.
                                  2    Further, even assuming that there were no rulings made in Prime I that would have a preclusive
                                  3    effect in Prime II, the judge who dismissed the first amended complaint in Prime I gained a
                                  4    familiarity with the overlapping parties and legal issues allowing for more efficiencies in presiding
                                  5    over Prime II.
                                  6                     2. Convenience
                                  7            Prime also argues that the defendants have not shown that the Southern District is a clearly
                                  8    more convenient forum. (Dkt. No. 25 at 6.) Even if the Court agreed, defendants do not bear an
                                  9    affirmative burden to show the same, as “[t]he question of which forum will better serve the interest
                                  10   of justice is of predominant importance on the question of transfer, and factors involving
                                  11   convenience of parties and witnesses are in fact subordinate.” Wireless Consumers Alliance, Inc. v.
                                  12   T-Mobile USA, Inc., No. C 03-3711 MHP, 2003 WL 22387598, at *4 (N.D. Cal. Oct. 14, 2003)
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                                  13   (citing Pratt v. Rowland, 769 F. Supp. 1128, 1133 (N.D. Cal. 1991)). As such, Prime’s
                                  14   arguments—that convenience favors litigation in the Northern District because it has a “greater
                                  15   interest” in adjudicating this case, some of the defendants live there, and the alleged conspiracy was
                                  16   directed from there—are are all subordinate to the interests of justice. See Wireless Consumers
                                  17   Alliance, Inc., 2003 WL 22387598, at *4. (“One frequently mentioned element of the interest of
                                  18   justice is the desire to avoid multiple litigations based on a single transaction.”) (internal quotations
                                  19   and citations omitted). As discussed above, transfer would conserve resources and prevent
                                  20   duplicative efforts, thereby furthering the interests of justice.
                                  21   II.     CONCLUSION
                                  22           Accordingly, the Motion to Transfer based upon first filing is GRANTED. This action is
                                  23   hereby transferred to the Southern District of California.
                                  24           This Order terminates Docket No. 17.
                                  25           IT IS SO ORDERED.
                                  26   Date: October 24, 2014                             _______________________________________
                                                                                                  YVONNE GONZALEZ ROGERS
                                  27                                                         UNITED STATES DISTRICT COURT JUDGE
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